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                        Exhibit I
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                                                                                      Susan Davis, Partner
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                       909 Third Avenue, 12th Floor  New York, NY 10022-4869


                                          April 26, 2024


Via Email: lewis@clm.com

Alan S. Lewis
Carter Ledyard & Milburn LLP
28 Liberty Street
New York, NY 10005

Dear Mr. Lewis:

             This firm is General Counsel to the Affiliated Musicians of Greater New York
Local 802, AFM (“Local 802” or the “Union”).

                Local 802 has considered your request that it “perform its contractual and solemn
duty to Mr. Wang by demanding his immediate reinstatement, and if the Philharmonic does not
immediately comply, commencing legal action to compel its compliance.” You contend that by
taking Mr. Wang off the schedule, the Philharmonic “violate[d] the CBA by relatedly violating
the terms of the mandatory reinstatement provision of the [Bloch] arbitration award.” We
disagree. That Bloch award, as you know, required the New York Philharmonic, on April 4,
2020, to “reinstate[] the grievants and [make them] whole for all contractual benefits lost,
including full back pay and seniority.” The New York Philharmonic fully complied with the
award more than four years ago. The award certainly does not give Mr. Wang a guarantee of
lifetime employment regardless of whether new allegations of wrongdoing or different
circumstances arise. In any event, the collective bargaining agreement mandates that members
of the Orchestra be “employed” for 52 weeks each year; it does not guarantee that members are
placed on the schedule for any or all performances or rehearsals.

                Additionally, on April 17, 2024, the NY Philharmonic engaged an investigator to
determine whether there were any new or different allegations of sexual misconduct by any
members of the Orchestra, including your client. Local 802 has determined to await the outcome
of that investigation before determining how to proceed here.

                Finally, you ask that the Union “cease and desist from making any further
statements endorsing Mr. Wang’s removal, suspension or non-assignment.” The Union has
made no such statements. The statements that the Union has made, when read in context, refer to
the “good first steps” the Philharmonic is taking towards the larger goal of “eras[ing] the culture
of complicity that has raged at the NY Philharmonic for too long.” The Union is committed to
taking appropriate steps to ensure that the New York Philharmonic provides a safe workplace for
all members of the Orchestra.



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                                          Very truly yours,




                                          Susan Davis
